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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


 WSOU INVESTMENTS, LLC d/b/a                   §
 BRAZOS LICENSING AND                          §
 DEVELOPMENT,                                  §            Case No. 6:20-cv-572-ADA
                                               §            Case No. 6:20-cv-580-ADA
      Plaintiff,                               §            Case No. 6:20-cv-584-ADA
                                               §            Case No. 6:20-cv-585-ADA
 v.                                            §
                                               §
 GOOGLE, LLC,                                  §
                                               §
      Defendant.                               §


         UNOPPOSED MOTION FOR WITHDRAWAL OF COUNSEL FROM CASE

TO THE HONORABLE COURT:

         Counsel for WSOU Investments, LLC d/b/a Brazos Licensing and Development

(“Brazos”) hereby moves to withdraw attorney Melissa Samano Ruiz as counsel of record for

Plaintiff.

         Attorneys with the law firm of Cherry Johnson Siegmund James PLLC and Folio Law

Group PLLC will remain as counsel for Plaintiff.

         This withdrawal will not cause a continuance or delay and will not prejudice Defendant or

any other party to this action.

         Defense counsel is not opposed to this motion. Accordingly, Plaintiff requests the Court

enter an order reflecting this withdrawal and that all necessary changes be made to the Court’s

records and ECF.
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Dated: January 4, 2024               Respectfully submitted,

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                              LLC d/b/a Brazos Licensing and Development




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                           CERTIFICATE OF CONFERENCE

       I hereby certify that Mark D. Siegmund conferred with Defendant regarding Melissa

Samano Ruiz’s withdrawal from the case. Defendant is unopposed to this motion.



                                                  /s/ Mark D. Siegmund_____
                                                  Mark D. Siegmund




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument was served or

delivered electronically to all counsel of record on this 4th day of January, 2024 via the Court’s

CM/ECF system.



                                                    /s/ Mark D. Siegmund_____
                                                    Mark D. Siegmund




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